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                                                       February 23, 2022


 The Honorable Michael B. Kaplan
 United States Bankruptcy Court, District of New Jersey
 Clarkson S. Fisher US Courthouse
 402 East State Street, Courtroom #8
 Trenton, NJ 08608

          Re: LTL Management LLC, Case No. 21-30589 (MBK)

 Dear Chief Judge Kaplan:

          This responds briefly to Mr. Stolz’s letter filed earlier today.

         First, the Debtor's willingness to agree to an examiner is not an attempt to “head off” a
 derivative standing motion. As the Court knows, the Debtor strongly believes that the
 prepetition corporate restructuring did not effect a fraudulent transfer or otherwise harm
 claimants but instead ensures that at least the same asset value that was available to pay talc
 claims pre-restructuring remained available post-restructuring. Nonetheless, in the event the
 Court determines to deny the motions to dismiss, the Debtor is amenable to an independent third
 party evaluating the restructuring to clear up any lingering concerns that may exist and to remove
 a potential impediment to a consensual resolution. If, instead, the examiner concludes that a
 fraudulent conveyance may have occurred, the Debtor made clear that it would not oppose a
 grant of derivative standing to a committee. In short, there would be no need for a committee to
 file a motion for derivative standing.

          Second, the appointment of an examiner will not cause delay. The Debtor requested that,
 if its chapter 11 case is not dismissed, the Court promptly appoint both an FCR and a mediator to
 assist the parties in negotiating a resolution of this case. The mediation and the examiner’s
 investigation could proceed in parallel to avoid any delay.

          Third, there was no "procedural infirmity" with the Debtor's suggestion regarding the
 appointment of an examiner. The Court has the authority to appoint an examiner sua sponte if it
 determines that such an appointment is in the interests of creditors and other stakeholders. See,
 e.g., In re Moshaashaee, 2015 WL 4689019, at *2 (Bankr. E.D.N.C. Aug. 6, 2015) (“court has
 authority to appoint an examiner without motion or request by a party in interest”); Keene Corp.
 v. Coleman (In re Keene Corp.), 164 B.R. 844, 855 (Bankr. S.D.N.Y. 1994) (court has authority
 to appoint examiner sua sponte); In re UNR Industries, Inc., 72 B.R. 789, 793 (Bankr. N.D. Ill.


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 1987) (“Under Section 105(a) the Court on its own motion can move for the appointment of an
 examiner.").

        Thank you for your consideration of this letter.

                                                  Respectfully submitted,

                                                  /s/ Gregory M. Gordon
                                                  Gregory M. Gordon
